ROSENSTEEL, Igor
Register No.: 64770-037
Appeal No.: 1126970-F1
Page 1

 

Part B - Response

This is in response to your Request for Administrative Remedy
received on July 15, 2022, in which you are requesting re-
consideration for a Compassionate Release.

As indicated in your response dated January 21,2022, and in
accordance with Program Statement 5050.50, Compassionate
Release/Reduction in Sentence: Procedures for Implementation of
18 U.S.C. 3582(c) (1) (A) and 4205(g), Elderly Inmates with
Medical Conditions must be Age 65 and older. You are 32 years
old and do not have medical conditions meeting the criteria for
early release under the PS 5050.50.

RIS consideration may also be given to inmates who have an
incurable, progressive illness or who have suffered a
debilitating injury from which they will not recover. Your case
was reviewed and determined that although you have medical
concerns, they are not debilitating.

In accordance with policy, the BOP should consider a Reduction
in Sentence if the inmate is:

e Completely disabled, meaning the inmate cannot carry on any
self-care and is totally confined to a bed or chair. You
are able to maneuver within the living quarters. You are
able to address your normal living needs.

e Capable of only limited self-care and is confined to a bed

or chair more than 50% of waking hours. You are able to
maneuver within the living quarters. You are able to walk
to Health Services. You are able to walk to Food Service.

You are able to address your normal living needs.

Accordingly, based on the above information, your Request for
Administrative Remedy is denied.

If you are not satisfied with this response, you may appeal to the
Regional Director, Federal Bureau of Prisons, Northeast Regional
Office, U.S. Customs House, 2nd and Chestnut Streets, 7th Floor,
Philadelphia, Pennsylvania, 19106, within 20 calendar days of this
response.

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Date R. Thompson ”
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fosasle September 28, 2015 7

Page 5
Attachment 1

ADMINISTRATIVE REMEDY PROCEDURE FOR INMATES
FCC ALLENWOOD INFORMAL RESOLUTION FORM

LSCI_, —— FCE USP

NOTE TO INMATE: You are advised that prior to receiving and filing a
Request for Administrative Remedy Form BP-9 [BP-229(13)], you must
oxdinarily attempt to informally resolve your complaint through your
Correctional Counselor. Briefly state ONE complaint below and list what
efforts you have made to resolve your complaint informally and state the
names of staff contacted.

Issued By: ——___ (Initials, of Correctional Counselor)
Date Issued To The Inmate: ‘Sf a

[INMATE'S COMMENTS:

 

 

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L. Complaint: CO rr fassioncte Nelecse | Hedwve bi yn of Senbemce. Pein'e |

 

‘. Efforts you have made to informally resolve: Cled foe Compesigacte Kéleag&
sind Cares AA put i fraper Loeae
Names of staff you contacted: btrdin “Thumtivn , Pix Cooneeg Vin? Poanager

 

fate Returned to Correctional Counselor: As faa.

LL aia” 6477200 37 oA sf 2

Inmate's Signature Reg. Number Date

ORRECTIONAL COUNSELOR'S COMMENTS:

1. Efforts made to informally resolve and staff contacted: Laat Ceuy not-

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ate BP-9S Issued:

 

a“
Correctional Counselor

SU Le — afm

Unit Manager (Date) / [

sStribution: If complaint is NOT informally resolved - Forward original
‘tached to BP-9 Form to the Administrative Remedy Coordinator.

APOCee

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